
Green, J.
delivered the opinion of the court.
This is a suit commenced -before a justice of the peace. The warrant commands the officer to summon “George Bra-den, administrator of John Braden, deceased, to appear and answer the complaint of Sarah Braden, in a plea of trespass on the case, to her damage fifty dollars, for failing to pay to her, the said Sarah Braden, the rent of the place that he, the said George Braden, rented of John Blunter, the agent of the said Sarah Braden, and for failing to give up to her, the said Sarah, the said place, to her damage fifty dollars.”
■ The justice of the peace gave judgment for the plaintiff, and the defendant appealed to the circuit court. In the progress of the cause Sarah Braden died, and the cause was revived in the name of her administrator.
*20On .the trial of the ease, the jury found for the plaintiff sixteen dollars, and the court rendered judgment against Geo. Braden in his proper person for the sum so found by the jury. The defendant appealed to this court. And here it is contended that there is error in the form of the judgment, because the suit is against George Braden, in his character of administrator of John Braden, and the judgment is against him in his proper person. On the other side it is argued, that the words “administrator. of John Braden, deceased” in the warrant, are only descriptive of the person of the defendant ; and that the grounds of action, as stated in the warrant, ‘for failing to pay to her, the said Sarah Braden, the rent of the place that he, the said George Braden, rented of John Hunter, the agent of her, the said Sarah Braden, and for failing to give up to her, the said Sarah, the said place,” show that the subject matter of the suit could have nothing to do with the official character of George Braden, as administrator of John Braden; but that in fact it is a suit against George Braden, alone, for his own personal wrong. And so we think. The suit is not against George Braden, as administrator, as the grounds of the action set forth in the warrant show, and there is no error in the form of the judgment.
We affirm the judgment.
